
Swing, J.
This case comes into this court on error to the court of common pleas.
The only question insisted on in the argument of the case was whether the petition of plaintiff stated facts sufficient to constitute a cause of action. No demurrer was filed, nor was the question raised in any other way until the cause was brought here.
It is now urged that it was too late to take advantage of this defect, if it exists, and we do not find this point well taken. If the petition does not .state a cause of action, it is. not cured by a verdict and judgment.
But on the question as to whether the petition states a cause of action the court is of the opinion that there is a cause of action stated.
The plaintiff sets out the language of the defendant and that in speaking the words, she intended to charge the plaintiff with stealing. It is for the court to say whether the words used were susceptible of such a meaning, and for the jury to say, whether they were so used. We think it clear that the words so used are capable of such a construction if so intended, and the jury by their verdict has said that this is true. See Starkie on Slander, 84,
Judgment below affirmed without penalty.
’ Judge Cox dissents, on the ground that no cause of action was stated in the petition.
